14 F.3d 599NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Jimmie WASHINGTON, Petitioner, Appellant,v.Russell PARKER, Chief of Police, Eutawville, SC;  MichaelCuller, Public Defender, Orangeburg County;  Dr.Lewis, OCDC, Nurse Glover, OCDC;  Stateof South Carolina,Respondents, Appellees.
    No. 93-6452.
    United States Court of Appeals,Fourth Circuit.
    Submitted Dec. 16, 1993.Decided Jan. 7, 1994.
    
      Appeal from the United States District Court for the District of South Carolina, at Orangeburg.  Robert S. Carr, Magistrate Judge.  (CA-93-787-3-8, CA-93-800-5-8)
      Jimmie Washington, Appellant, pro se.
      D.S.C.
      DISMISSED.
      Before HALL and NIEMEYER, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the magistrate judge's report and recommendation in his 28 U.S.C. Sec. 2241 (1988) action.  We dismiss the appeal for lack of jurisdiction because the order is not appealable.  This Court may exercise jurisdiction only over final orders, 28 U.S.C. Sec. 1291 (1988), and certain interlocutory and collateral orders, 28 U.S.C. Sec. 1292 (1988);  Fed.R.Civ.P. 54(b);   Cohen v. Beneficial Industrial Loan Corp., 337 U.S. 541 (1949).  The order here appealed is neither a final order nor an appealable interlocutory or collateral order.
    
    
      2
      We dismiss the appeal as interlocutory.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    